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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   ________________________________
                                    )
   PHILLIS WINDY HOPE REILLY and    )
   MICHAEL P. REILLY                )
                                    )
              Plaintiffs,           )
                                    )
         v.                         )                  No. 15-349-REB-CBS
                                    )
   6480 PICKNEY, LLC,               )
   PARKER WALTON, and               )
   CAMP FEEL GOOD, LLC              )
                                    )
              Defendants.           )
   ________________________________ )

                 PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTIONS
                         TO DEPOSITION DESIGNATIONS [#237]

          Defendants object to Plaintiffs’ designation of excerpts of the deposition testimony

   of their property appraisal expert, Ivor Hill. See Defendants’ Objections in Response to

   Plaintiffs’ First Set of Deposition Designations (Oct. 1, 2018) [#237]. Defendants argue

   that Mr. Hill is available to testify at trial and that his deposition testimony is therefore

   inadmissible hearsay. But Defendants listed Mr. Hill as a witness who “may be present at

   trial,” Proposed Pretrial Order at 10 (Sept. 27, 2018) [#233] (emphasis added), and they

   have offered no assurances that Mr. Hill will actually attend.

          If Mr. Hill is not present at trial, his deposition testimony will be admissible under

   Federal Rule of Civil Procedure 32(a)(4). Under that rule, deposition testimony is

   admissible if “the witness is more than 100 miles from the place of . . . trial . . . , unless it

   appears that the witness’s absence was procured by the party offering the deposition.”


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   This Court has interpreted that rule to mean what it says: “A party may use at trial the

   deposition of a witness, whether or not a party, if the witness . . . is more than 100 miles

   from the place of trial.” Merlin v. Crawford, 2016 WL 814580, at *2 (D. Colo. Mar. 2, 2016).

   When a deponent is more than 100 miles from the place of trial, the deposition testimony

   is admissible “even if the witness lives within the state and would thus be subject to a

   subpoena under Rule 45.” Predator Int’l, Inc. v. Gamo Outdoor USA, Inc., 2014 WL

   358866, at *3 (D. Colo. Jan. 31, 2014).

          During his deposition, Mr. Hill testified that he lives in Rye, Colorado, which is

   located in southern Pueblo County. Deposition Transcript of Ivor Hill at 38–39 (Exhibit 1).

   Whether measured in terms of driving distance or as the crow flies, Rye is more than 100

   miles from the Denver courthouse where the trial in this case will occur. See Exhibit 2

   (Google Maps screen capture). Mr. Hill’s deposition testimony will thus be admissible to

   the extent that he is not present at trial.

   Date: October 2, 2018                              Respectfully submitted,

       Of Counsel:                                     s/ David H. Thompson
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                                        Counsel for Plaintiffs




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on October 2, 2018, I electronically filed the foregoing with

   the Clerk of Court using the CM/ECF system, which will send notification of such filing to

   all attorneys who have entered appearances in this case.


                                                    s/ David H. Thompson
                                                    David H. Thompson




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